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                                                        Exhibit A
                                                  Statement of Claim
                                                  Plaintiff John Rhone

Unpaid Overtime Wages
                                                                   FLSA           FLSA           Total
                                 Average          Average                                                      Total

                      Weeks¹
                                                                 Equvalent      Equvalent       Unpaid
      Period¹                  Weekly Hours       Weekly                                                    Liquidated
                                                                  Hourly        Overtime       Overtime
                                 Worked¹           Pay¹                                                     Damages¹
                                                                   Rate¹      Hourly Rate¹      Wages¹
  8/7/19 - 9/10/21   109.43       44.42       $       500.00   $      11.26   $      16.88   $   2,722.17   $   2,722.17
                                                                                             $   2,722.17   $   2,722.17

                                                                        Total Unpaid Overtime Wages¹ = $        2,722.17
                                                                           Total Liquidated Damages¹ = $        2,722.17
                                                                                               Total¹ = $       5,444.33




¹ Numbers are averages, estimates, and/or approximates. Numbers may change as information is uncovered through the
discovery process.
